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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

AMY EVERETT and                       )
TJELVAR EVERETT,                      )
                                      )
             Plaintiffs,              )
                                      )
      v.                              )       Civ. Act. No. 1:17-cv-3392-TWT
                                      )
COBB COUNTY, GEORGIA;                 )       Plaintiffs’ Notice of Intent
                                      )       To Respond To Defendant Miller’s
OFFICER JAMES HOPKINS,                )       Motion To Dismiss
individually and in his official      )
capacity; and,                        )
                                      )
LANI MESHELLA MILLER;                 )
                                      )
             Defendants.              )
                                      )

                      Plaintiffs’ Notice Of Intent To Respond
                     To Defendant Miller’s Motion To Dismiss

      Now come Plaintiffs and notify the court that they intend to respond to

Defendant Miller’s motion to dismiss. Doc. no. 29.

      Respectfully submitted this 25th day of January, 2018.

      I certify this is Times New Roman 14 point font in Word.

                                      /s/ John P. Batson
                                      John P. Batson
                                      Ga. Bar No. 042150
                                      Attorney for Plaintiffs




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                           CERTIFICATE OF SERVICE

      This is to certify that the undersigned attorney did this date serve a copy of
the within and foregoing notice

       Depositing the same with a commercial expedited delivery service thereon
to the following address(es):

      Delivering a copy to counsel by hand to the following address(es):

      Faxing a copy of the same to the following Fax No(s).:

      E-mailing a copy of the same through the court’s e-mailing system:

             Richard Nolan Blevins, Jr.
             Blevins and Hong, P.C.
             191 Roswell Street
             Marietta, GA 30060
             678-354-2290
             Email: richardblevins@cobbcountylaw.com

             EDDIE SNELLING, JR.
             Senior Associate County Attorney
             Eddie.Snelling@Cobbcounty.org

      Respectfully submitted this 25th day of January, 2018.
                                      __________________
                                      /s/ John P. Batson
                                      John P. Batson
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